     Case 2:23-cv-01939-WBS-AC Document 31 Filed 11/20/23 Page 1 of 34


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10                     IN THE UNITED STATES DISTRICT COURT

11                    FOR THE EASTERN DISTRICT OF CALIFORNIA

12                               SACRAMENTO DIVISION

13

14
     X CORP.,                                2:23-CV-01939-WBS-AC
15
                               Plaintiff, DEFENDANT’S SUPPLEMENTAL BRIEF
16                                        IN OPPOSITION TO PLAINTIFF’S
                 v.                       MOTION FOR PRELIMINARY
17                                        INJUNCTION

18   ROB BONTA, ATTORNEY GENERAL OF THE      Date:  November 13, 2023
     STATE OF CALIFORNIA, IN HIS OFFICIAL    Time:  1:30 p.m.
19   CAPACITY,                               Dept:  5
                                             Judge: Hon. William B.
20                             Defendant.           Shubbbb
                                          Trial Date:   None set
21                                        Action Filed: 9/08/2023

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                                     Defendant’s Supp. Brief (2:23-CV-01939-WBS-AC)
     Case 2:23-cv-01939-WBS-AC Document 31 Filed 11/20/23 Page 2 of 34


 1                              TABLE OF CONTENTS

 2                                                                          Page
 3   Introduction ................................................... 1
     AB 587’s Terms of Service Report Requirements .................. 2
 4
     Argument ....................................................... 3
 5        I.   AB 587’s Terms of Service Report Requirements Are
                Subject to Zauderer Scrutiny ......................... 3
 6
                A.   The Terms of Service Report Requirements
 7                   Compel “Commercial Speech” ...................... 4
                     1.   The determination of whether a
 8                        communication is “commercial speech” is
                          fact-driven. ............................... 4
 9
                     2.   In the compelled speech context,
10                        consumer product and service disclosures
                          are treated as “commercial speech” for
11                        the purposes of applying Zauderer
                          scrutiny ................................... 5
12                   3.   The terms of service report requirements
                          compel “commercial speech” because they
13                        compel disclosures to consumers about
                          the social media platform’s commercial
14                        services. .................................. 8
15                   4.   The commercial speech in the terms of
                          service reports is not “inextricably
16                        intertwined” with noncommercial speech .... 11
                B.   The Terms of Service Report Disclosures Are
17                   “Purely Factual and Uncontroversial” ........... 13
18        II. Even If Zauderer Scrutiny Does Not Apply to the
                Terms of Service Report Requirements, Central
19              Hudson Intermediate Scrutiny Applies ................ 15
          III. The Terms of Service Report Requirements Are Not
20              Subject Strict Scrutiny ............................. 16
21              A.   Strict Scrutiny Does Not Apply to Content-
                     Based Laws Compelling Commercial Speech ........ 16
22              B.   The Terms of Service Report Requirements Are
                     Viewpoint Neutral .............................. 18
23
                C.   The “Editorial Judgments” Theory Does Not
24                   Apply to the Terms of Service Report
                     Requirements ................................... 20
25              D.   The Terms of Service Report Requirements Are
                     Not Analogous to the Challenged Laws in
26                   Plaintiff’s “Speech About Speech” Cases ........ 23
27

28
                                          i
                                   Defendant’s Supp. Brief (2:23-CV-01939-WBS-AC)
     Case 2:23-cv-01939-WBS-AC Document 31 Filed 11/20/23 Page 3 of 34


 1                              TABLE OF CONTENTS
                                   (continued)
 2                                                                          Page
 3              E.  The Terms of Service Report Requirements Are
                     Not Subject to Strict Scrutiny Based on
 4                   Plaintiff’s Unfounded Speculation That the
                     Attorney General May Not Enforce AB 587
 5                   Properly ....................................... 24
     Conclusion .................................................... 25
 6

 7

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 9
10

11

12

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16

17

18

19
20

21

22

23

24

25

26

27

28
                                          ii
                                    Defendant’s Supp. Brief (2:23-CV-01939-WBS-AC)
     Case 2:23-cv-01939-WBS-AC Document 31 Filed 11/20/23 Page 4 of 34


 1                             TABLE OF AUTHORITIES

 2                                                                           Page
 3   CASES

 4   Alfasigma USA, Inc. v. First Databank, Inc.
        398 F. Supp. 3d 578 (N.D. Cal. 2019)...................... 4, 5
 5
     Am. Beverage Ass’n v. City and County of San Francisco
 6
        916 F.3d 749 (9th Cir. 2019)................................ 17
 7
     Am. Fuel & Petrochem. Mfrs. v. O’Keefe
 8      903 F.3d 903 (9th Cir. 2018)................................ 19

 9   Am. Hosp. Ass’n v. Azar
        983 F.3d 528 (D.C. Cir. 2020)......................... 2, 9, 10
10
     Ariix, LLC v. NutriSearch Corp.
11      985 F.3d 1107 (9th Cir. 2021).......................... 4, 5, 9
12   Bass v. Facebook, Inc.
13      394 F. Supp. 3d 1024 (N.D. Cal. 2019)........................ 9

14   Bolger v. Youngs Drug Prod. Corp.
        463 U.S. 60 (1983)...................................... passim
15
     Cent. Hudson Gas & Elec. Corp. v. Pub. Serv. Comm'n of
16      New York
        447 U.S. 557 (1980)......................................... 16
17
     Chamber of Commerce of the United States of America v.
18
        S.E.C
19      No. 23-60255, 2023 WL 7147273 (5th Cir. Oct. 31,
        2023)................................................... 10, 11
20
     City of Austin, Texas v. Reagan Nat’l Advert. of
21      Austin, LLC
        596 U.S. 61 (2022).......................................... 17
22
     CTIA - The Wireless Association v. City of Berkeley,
23      Cal.
24      928 F.3d 832, 843 (9th Cir. 2019)................ 6, 14, 15, 17

25   Entertainment Software Ass’n v. Blagojevic
        469 F.3d 641 (7th Cir. 2006)............................ 23, 24
26
     Env't Def. Ctr., Inc. v. U.S. E.P.A.
27      344 F.3d 832 (9th Cir. 2003)................................ 10
28
                                         iii
                                   Defendant’s Supp. Brief (2:23-CV-01939-WBS-AC)
     Case 2:23-cv-01939-WBS-AC Document 31 Filed 11/20/23 Page 5 of 34


 1                             TABLE OF AUTHORITIES
                                   (continued)
 2                                                                           Page
 3   Greater Baltimore Ctr. for Pregnancy Concerns, Inc. v.
        Mayor & City Council of Baltimore
 4      721 F.3d 264 (4th Cir. 2013)................................ 16
 5   Herbert v. Lando
 6      441 U.S. 153 (1979)......................................... 21

 7   Hunt v. City of L.A.
        638 F.3d 703 (9th Cir. 2011)................................. 5
 8
     Inst. v. U.S. Dep’t of Agric.
 9      760 F.3d 18 (D.C. Cir. 2014)................................. 7
10   Interpipe Contracting, Inc. v. Becerra
        898 F.3d 879 (9th Cir. 2018)................................ 19
11
     Jordan v. Jewel Food Stores, Inc.
12
        743 F.3d 509 (7th Cir. 2014).............................. 4, 5
13
     King v. Facebook, Inc.
14      572 F.Supp.3d 776 (2021)..................................... 9

15   Lamb-Weston, Inc. v. McCain Foods, Ltd.
        941 F.2d 970 (9th Cir. 1991)................................. 2
16
     Miami Herald Pub. Co. v. Tornillo
17      418 U.S. 241 (1974)......................................... 21
18
     Motion Picture Ass’n of Am. v. Specter
19      315 F.Supp. 824 (E.D. Penn. 1970)....................... 23, 24

20   Nat’l Ass’n of Wheat Growers v. Becerra
        468 F. Supp. 3d 1247 (E.D. Cal. 2020)....................... 15
21
     Nat’l Elec. Mfrs. Ass’n v. Sorrell
22      272 F.3d 104 (2d Cir. 2001).................................. 6
23   Nat’l Wheat Growers Assn. v. Bonta
        --- F.4th ---, No. 20-16753, 2023 WL 7314307 (9th
24
        Cir. Nov. 7, 2023), .................................... passim
25
     National Institute of Family and Life Advocates v.
26      Becerra
        138 S.Ct. 2361 (2018).................................... 6, 16
27

28
                                          iv
                                    Defendant’s Supp. Brief (2:23-CV-01939-WBS-AC)
     Case 2:23-cv-01939-WBS-AC Document 31 Filed 11/20/23 Page 6 of 34


 1                             TABLE OF AUTHORITIES
                                   (continued)
 2                                                                           Page
 3   Nationwide Biweekly Admin. v. Owen
        873 F.3d 716 (9th Cir. 2017)............................. 3, 16
 4
     NetChoice, LLC v. Att’y Gen.
 5      34 F.4th 1196 (11th Cir. 2022).................... 4, 7, 20, 21
 6
     NetChoice, LLC v. Paxton
 7      49 F.4th 439 (5th Cir. 2022)...................... 4, 7, 21, 22

 8   Orantes-Hernandez v. Thornburgh
        919 F.2d 549 (9th Cir. 1990)................................. 2
 9
     PruneYard Shopping Ctr. v. Robins
10      447 U.S. 74 (1980) ......................................... 21
11   Reed v. Town of Gilbert, Ariz.
        576 U.S. 155 (2015)......................................... 17
12

13   Resort, Inc. v. Herrera
        860 F.3d 1263 (9th Cir. 2017)......................... 5, 7, 18
14
     S.E.C. v. AT&T, Inc.
15      626 F. Supp. 3d 703 (S.D.N.Y. 2022)......................... 17
16   Smith v. People of the State of California
        361 U.S. 147 (1959)......................................... 23
17
     United States v. Philip Morris
18
        855 F.3d 321 (D.C. Cir. 2017)............................... 10
19
     Swift v. Zynga Game Network, Inc.
20      805 F. Supp. 2d 904 (N.D. Cal. 2011)......................... 9

21   United States v. Swisher
        811 F.3d 299 (9th Cir. 2016)................................ 16
22
     United States v. United Foods, Inc.
23      533 U.S. 405 (2001).......................................... 6
24   Volokh v. James
25      No. 22-CV-10195 (ALC), 2023 WL 1991435 (S.D.N.Y.
        Feb. 14, 2023).................................... 7, 8, 18, 19
26
     Washington Post v. McManus
27      944 F. 3d 506 (4th Cir. 2019)........................... 22, 23

28
                                          v
                                    Defendant’s Supp. Brief (2:23-CV-01939-WBS-AC)
     Case 2:23-cv-01939-WBS-AC Document 31 Filed 11/20/23 Page 7 of 34


 1                               TABLE OF AUTHORITIES
                                     (continued)
 2                                                                            Page
 3   Zauderer v. Office of Disciplinary Counsel
        471 U.S. 626 (1985)..................................... passim
 4
     STATUTES
 5
     United States Code, Title 42,
 6
        Section 300gg-18............................................ 10
 7
     California Business & Professions Code
 8      § 22676.................................................. 1, 12
        § 22676(a)(5)................................................ 3
 9      § 22676(c)................................................ 3, 8
        § 22677............................................... 1, 2, 12
10      § 22677(a)................................................... 8
        § 22677(a)(1)................................................ 3
11
        § 22677(a)(2)............................................... 12
12      § 22677(a)(3)............................................ 3, 13
        § 22677(a)(4)................................................ 3
13      § 22677(a)(4)(A)............................................. 3
        § 22677(a)(5)............................................... 12
14      § 22677(a)(5)(A)........................................ 13, 14
        § 22677(a)(5)(B)(1)......................................... 13
15
        § 22677(a)-(b)............................................... 2
16      § 22678..................................................... 25

17   CONSTITUTIONAL PROVISIONS

18   First Amendment ........................................... passim

19   OTHER AUTHORITIES
20   Brief of Respondent Securities and Exchange Commission
       at 1, Chamber of Commerce of the United States of
21     America v. S.E.C., 2023 WL 5274579 (5th Cir. Aug. 9,
22     2023) ...................................................... 11

23

24

25

26

27

28
                                          vi
                                     Defendant’s Supp. Brief (2:23-CV-01939-WBS-AC)
     Case 2:23-cv-01939-WBS-AC Document 31 Filed 11/20/23 Page 8 of 34


 1                             TABLE OF AUTHORITIES
                                   (continued)
 2                                                                           Page
 3   Medicare Program; Hospital Inpatient Prospective
        Payment Systems for Acute Care Hospitals and the
 4      Long-Term Care Hospital Prospective Payment System
        and Policy Changes and Fiscal Year 2019 Rates;
 5
        Quality Reporting Requirements for Specific
 6      Providers; Medicare and Medicaid Electronic Health
        Record (EHR) Incentive Programs (Promoting
 7      Interoperability Programs) Requirements for Eligible
        Hospitals, Critical Access Hospitals, and Eligible
 8      Professionals; Medicare Cost Reporting Requirements;
        and Physician Certification and Recertification of
 9      Claims, 83 FR 41144-01, 41686 (Aug. 17, 2018)............... 10
10
     Purchases of equity securities by the issuer and
11      affiliated purchasers, 17 C.F.R. § 229.703 (2023)........... 11

12   X Terms of Service, https://twitter.com/en/tos (last
        visited Nov. 20, 2023)....................................... 9
13

14

15

16

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18

19
20

21

22

23

24

25

26

27

28
                                         vii
                                    Defendant’s Supp. Brief (2:23-CV-01939-WBS-AC)
     Case 2:23-cv-01939-WBS-AC Document 31 Filed 11/20/23 Page 9 of 34


 1                                  INTRODUCTION

 2       AB 587 requires Plaintiff and other large social media

 3   platforms to make factual disclosures in two forms: 1) by posting

 4   the platform’s terms of service for users (Cal. Bus. & Prof. Code

 5   § 22676), and 2) by submitting to the Attorney General, for

 6   public posting, a bi-annual “terms of service report” (id.

 7   § 22677).     Under AB 587, the terms of service report is to

 8   include certain types of information about the platform’s terms

 9   of service and content moderation practices.         Id.   At the

10   November 13, 2023 hearing on Plaintiff’s motion for preliminary

11   injunction, the Court asked the parties to submit supplemental

12   briefs that address the proper standard of review for determining

13   if the required disclosures in the terms of service report

14   violate the First Amendment.      Defendant respectfully submits this

15   supplemental brief in response to that request.

16       The answer to the Court’s query is that Zauderer scrutiny

17   applies to the required disclosures in the terms of service

18   report.     See Zauderer v. Office of Disciplinary Counsel, 471 U.S.

19   626 (1985).    Zauderer scrutiny applies to laws compelling (1)

20   commercial speech, (2) that is “purely factual and

21   uncontroversial.”     Nat’l Wheat Growers Assn. v. Bonta,

22   ---F.4th---, No. 20-16753, 2023 WL 7314307 (9th Cir. Nov. 7,

23   2023), at *10. (“Nat’l Wheat”).

24       Here, the terms of service report requirements compel

25   commercial speech because they compel businesses (social media

26   companies) to make factual disclosures to consumers about their

27   services (their online platforms).       In these circumstances,

28   courts generally do not apply the Bolger factors or the test for
                                          1
                                   Defendant’s Supp. Brief (2:23-CV-01939-WBS-AC)
     Case 2:23-cv-01939-WBS-AC Document 31 Filed 11/20/23 Page 10 of 34


 1   whether the communication “does not more than propose a

 2   transaction.”     Nor is Zauderer scrutiny “limited to restrictions

 3   on advertising and point-of-sale labeling.”         Am. Hosp. Ass’n v.

 4   Azar, 983 F.3d 528, 541 (D.C. Cir. 2020).

 5        The information in required in terms of service reports is

 6   “purely factual,” because it consists only of facts about a

 7   social media company’s voluntary, existing terms of service and

 8   its actual content moderation conduct.        The information is

 9   “uncontroversial” under establish Ninth Circuit precedent,
10   because it relates only to a company’s own services and does not
11   require a company to take any position fundamentally at odds with
12   its mission.    For these reasons, AB 587’s terms of service report
13   requirements are subject to Zauderer scrutiny.
14               AB 587’S TERMS OF SERVICE REPORT REQUIREMENTS1
15        AB 587 provides that, commencing January 1, 2024, social

16   media companies subject to the law must submit to the Attorney

17   General a semiannual “terms of service report” containing

18   specified factual information.       Cal. Bus. & Prof. Code

19   § 22677(a)-(b).

20        The reports must include the “current version of the

21   platform’s terms of service” and a “detailed description of

22
           1This brief refers to the report “requirements” because the
23   various requirements are set forth in separate provisions of
     California Business and Professions Code section 22677 and are
24   severable. Thus, even if this Court were to find that one
     subdivision of section 22677 is likely unconstitutional, it
25   should not preliminarily enjoin any other requirements of the
     statute. See Orantes-Hernandez v. Thornburgh, 919 F.2d 549, 558
26   (9th Cir. 1990) (“an injunction must be narrowly tailored to give
     only the relief to which plaintiffs are entitled”); see also
27   Lamb-Weston, Inc. v. McCain Foods, Ltd., 941 F.2d 970, 974 (9th
     Cir. 1991) (an injunction “must be tailored to remedy the
28   specific harm alleged”).
                                     2
                                   Defendant’s Supp. Brief (2:23-CV-01939-WBS-AC)
     Case 2:23-cv-01939-WBS-AC Document 31 Filed 11/20/23 Page 11 of 34


 1   content moderation practices used by the social media company ….”

 2   Id. § 22677(a)(1), (a)(4).       The reports must also include a

 3   statement of simply “whether” the current version of the terms of

 4   service define several categories of content enumerated in the

 5   statute and, if so, the definitions of those categories, and “any

 6   existing policies intended to address the categories.”             Id.

 7   § 22677(a)(3), (a)(4)(A).       The reports must also include

 8   specified “information on content that was flagged by the social

 9   media company as content belonging to any of the [enumerated]
10   categories.” Id. § 22676(a)(5).
11        AB 587 does not direct the Attorney General to take any
12   action in response to submitted reports other than to “make all
13   terms of service reports submitted pursuant to this section
14   available to the public in a searchable repository on its
15   official internet website.”        Id. § 22676(c).
16
                                       ARGUMENT
17
     I.   AB 587’S TERMS OF SERVICE REPORT REQUIREMENTS ARE SUBJECT TO ZAUDERER
18        SCRUTINY
19        Zauderer scrutiny applies to laws compelling commercial
20   speech that is “purely factual and uncontroversial.”             Nat’l Wheat

21   Growers Assn. v. Bonta --- F.4th ---, No. 20-16753, 2023 WL

22   7314307 (9th Cir. Nov. 7, 2023), at *10. (“Nat’l Wheat”).

23   Zauderer and its progeny reflect the unexceptional principle that

24   “[t]he First Amendment does not generally protect corporations

25   from being required to tell prospective customers the truth.”

26   Nationwide Biweekly Admin. v. Owen, 873 F.3d 716, 721 (9th Cir.

27   2017).

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                                           3
                                    Defendant’s Supp. Brief (2:23-CV-01939-WBS-AC)
     Case 2:23-cv-01939-WBS-AC Document 31 Filed 11/20/23 Page 12 of 34


 1        Zauderer scrutiny applies to the terms of service report

 2   requirements because, as explained below, the compelled speech is

 3   “commercial” and “purely factual and uncontroversial

 4   information.”      Nat’l Wheat, 2023 WL 7314307, at *10; see also

 5   NetChoice, LLC v. Att’y Gen., 34 F.4th 1196, 1230 (11th Cir.

 6   2022), cert. granted in part sub. nom. Moody v. NetChoice, ---

 7   S.Ct. ----, 2023 WL 6319654 (“NetChoice (Fla.)”) (applying

 8   Zauderer scrutiny to compelled disclosures regarding platforms’

 9   terms of service and related information; NetChoice, LLC v.
10   Paxton, 49 F.4th 439, 485 (5th Cir. 2022), cert. granted in part,
11   --- S.Ct. ----, 2023 WL 6319650 (“NetChoice (Tex.)”) (applying
12   Zauderer scrutiny to compelled disclosures regarding information
13   on platforms’ terms of service and content moderation practices).
14        A.    The Terms of Service Report Requirements Compel
                “Commercial Speech”
15
                1.   The determination of whether a communication is
16                   “commercial speech” is fact-driven.
17        Courts are “loath to identify a strict test” for commercial
18   speech.    Alfasigma USA, Inc. v. First Databank, Inc., 398 F.
19   Supp. 3d 578, 586 (N.D. Cal. 2019).        “Commercial speech is
20   ‘usually defined as speech that does no more than propose a

21   commercial transaction.’”      Ariix, LLC v. NutriSearch Corp., 985

22   F.3d 1107, 1115 (9th Cir. 2021) (quoting United States v. United

23   Foods, Inc., 533 U.S. 405, 409 (2001)).        However this definition

24   defines only the “core notion” of commercial speech – other

25   communications may also constitute commercial speech.           Jordan v.

26   Jewel Food Stores, Inc., 743 F.3d 509, 516 (7th Cir. 2014)

27   (quoting Bolger v. Youngs Drug Prod. Corp., 463 U.S. 60, 66

28   (1983)).    Courts therefore view this definition as “just a
                                       4
                                   Defendant’s Supp. Brief (2:23-CV-01939-WBS-AC)
     Case 2:23-cv-01939-WBS-AC Document 31 Filed 11/20/23 Page 13 of 34


 1   starting point” of the commercial speech analysis.           Id.; accord

 2   Ariix, 985 F.3d at 1115.      The full analysis “is fact-driven, due

 3   to the inherent difficulty of drawing bright lines that will

 4   clearly cabin commercial speech in a distinct category.”             First

 5   Resort, Inc. v. Herrera, 860 F.3d 1263, 1272 (9th Cir. 2017)

 6   (internal quotation marks omitted); accord Ariix, 985 F.3d at

 7   1115.

 8        “Because of the difficulty of drawing clear lines between

 9   commercial and non-commercial speech, the Supreme Court in Bolger

10   outlined three factors to consider.”        Ariix, 985 F.3d at 1115;

11   see Bolger, 463 U.S. at 66-67.       These are whether [1] the speech

12   is an advertisement, [2] the speech refers to a particular

13   product, and [3] the speaker has an economic motivation.”            Hunt

14   v. City of L.A., 638 F.3d 703, 715 (9th Cir. 2011) (citing

15   Bolger, 463 U.S. at 66–67).       “These so-called Bolger factors are

16   important guideposts, but they are not dispositive.”           Ariix, 985

17   F.3d at 1116.

18
              2.   In the compelled speech context, consumer product
19                 and service disclosures are treated as
                   “commercial speech” for the purposes of applying
20                 Zauderer scrutiny

21        If a law compels a business to make consumer disclosures

22   regarding a product or service, courts generally treat this as

23   sufficient to meet Zauderer’s commercial speech requirement.             In

24   these cases, courts do not strictly apply the Bolger factors or

25   the “do no more than propose a commercial transaction” test, and

26   often do not apply them at all.       This is logical because, while

27   businesses’ government-compelled product or service disclosures

28   to consumers are commercial in nature, they do not “propose a
                                     5
                                   Defendant’s Supp. Brief (2:23-CV-01939-WBS-AC)
     Case 2:23-cv-01939-WBS-AC Document 31 Filed 11/20/23 Page 14 of 34


 1   commercial transaction” (United States v. United Foods, Inc., 533

 2   U.S. 405, 409 (2001)), they often do not appear in advertisements

 3   (see Bolger, 463 U.S. at 66–67), and the businesses certainly do

 4   not have an economic motivation to make them (see id.).

 5        The cases below illustrate this rule.

 6        In National Inst. of Family and Life Advocates v. Becerra,

 7   the Supreme Court considered a California law requiring licensed

 8   pregnancy-related clinics to disclose information about certain

 9   state-sponsored medical services, including abortion.           138 S.Ct.

10   2361, 2369-70.     The Court applied Zauderer scrutiny to the law

11   without considering whether or not the speech it compelled was

12   commercial.    See id. at 2372.

13         In CTIA – The Wireless Association v. City of Berkeley,

14   Cal., a city ordinance required cell phone retailers to provide a

15   notice to customers about cell phone radiation.          928 F.3d 832,

16   843 (9th Cir. 2019).      The Ninth Circuit applied Zauderer scrutiny

17   since the parties agreed that the compelled speech was commercial

18   and the court did not disagree.       Id. at 841-42; see also Nat’l

19   Elec. Mfrs. Ass’n v. Sorrell, 272 F.3d 104, 113 (2d Cir. 2001)

20   (applying Zauderer scrutiny where plantiff did not dispute that

21   labeling requirement for mercury-containing products involved

22   commercial speech and court did not disagree).

23         In Nat’l Assn. of Wheat Growers v. Bonta, the Ninth Circuit

24   considered a challenge to California’s Proposition 65 requirement

25   that businesses provide a “clear and reasonable warning” to

26   persons exposed to a particular chemical.         --- F.4th. --- (9th

27   Cir. Nov. 7, 2023), 2023 WL 7314307 at *2.         Again, the Ninth

28   Circuit applied Zauderer scrutiny to the State’s proposed warning
                                     6
                                   Defendant’s Supp. Brief (2:23-CV-01939-WBS-AC)
     Case 2:23-cv-01939-WBS-AC Document 31 Filed 11/20/23 Page 15 of 34


 1   language without any explicit consideration of whether the law

 2   compelled commercial speech.       Id. at *10-15; see also Am. Meat

 3   Inst. v. U.S. Dep’t of Agric., 760 F.3d 18, 21 (D.C. Cir. 2014)

 4   (proceeding directly to Zauderer scrutiny of law requiring

 5   country-of-origin labeling for meat products without explicit

 6   consideration of whether law compelled commercial speech).

 7          Finally, in NetChoice (Fla.) and NetChoice (Tex.), like

 8   here, the circuit courts considered state laws requiring social

 9   media platforms to make certain disclosures regarding content

10   moderation policies and practices.        NetChoice (Fla.), 34 F.4th at

11   1206-07; NetChoice (Tex.), 49 F.4th at 445-46.          In both cases,

12   the circuit courts applied Zauderer scrutiny to the disclosure

13   laws without discussing whether the compelled speech was

14   “commercial.”     NetChoice (Fla.), 34 F.4th at 1230; NetChoice

15   (Tex.), 49 F.4th at 485.

16        In contrast with the cases above, Plaintiff has cited no

17   Supreme Court or Ninth Circuit case—and Defendant is aware of

18   none—in which a court has invalidated a consumer product or

19   service disclosure law because the law did not “propose a

20   commercial transaction” or satisfy the Bolger factors.           At the

21   hearing on this motion, Plaintiff did cite the Southern District

22   of New York case of Volokh v. James, No. 22-CV-10195 (ALC), 2023

23   WL 1991435, at *7 (S.D.N.Y. Feb. 14, 2023).         There, the

24   challenged law required social media platforms to both have and

25   disclose a policy regarding hate speech.         Id. at 2.    Although the

26   court concluded that the compelled speech was not commercial, it

27   did not engage in a “fact-driven” analysis (First Resort, Inc.,

28   860 F.3d at 1272) or even apply the Bolger factors.           Volokh at
                                          7
                                   Defendant’s Supp. Brief (2:23-CV-01939-WBS-AC)
     Case 2:23-cv-01939-WBS-AC Document 31 Filed 11/20/23 Page 16 of 34


 1   *7.   As the other cases above indicate, the mode of analysis and

 2   conclusion in Volokh is out of step with Ninth Circuit

 3   authorities and, in any event, not binding here.

 4
              3.   The terms of service report requirements compel
 5                 “commercial speech” because they compel
                   disclosures to consumers about the social media
 6                 platform’s commercial services.
 7         AB 587’s terms of service report requirements compel the

 8   same type of product or service disclosure to consumers that

 9   courts subject to Zauderer scrutiny as commercial speech.            The
10   terms of service reports disclose the social media platform’s
11   terms of service, information on the platform’s content
12   moderation practices, and, in some cases, high-level statistics
13   about categories of content that the company actually flagged as
14   violating their terms of service.        Cal. Bus. & Prof. Code
15   §22677(a).    AB 587 requires that the Attorney General must “make
16   all terms of service reports submitted pursuant to this section
17   available to the public in a searchable repository on its
18   official internet website.”       Id. § 22676(c).    In other words, the
19   terms of service reports require businesses (large social media
20   platforms) to disclose facts about how their own commercial
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                                          8
                                   Defendant’s Supp. Brief (2:23-CV-01939-WBS-AC)
     Case 2:23-cv-01939-WBS-AC Document 31 Filed 11/20/23 Page 17 of 34


 1   services function.2     And, the reports are then made available, in

 2   full, to the public that uses these services.          Under case law

 3   precedent, the terms of service reports are precisely the type of

 4   compelled consumer disclosure that constitutes commercial speech.

 5         It is immaterial to the commercial speech analysis that AB

 6   587 requires platforms to transmit the terms of service reports

 7   to the Attorney General rather than directly to individual

 8   platform users.     The purpose of requiring disclosure to the

 9   Attorney General in the first instance is so the Attorney General

10   can compile the reports and make the information searchable and

11   widely available to the public.       Moreover, case law supports the

12   application of Zauderer scrutiny where compelled disclosures are

13   made to the public or to the government, instead of directly to a

14   specific individual at the point of sale.         See Am. Hosp. Ass’n v.

15   Azar, 983 F.3d 528, 541 (D.C. Cir. 2020) (Zauderer scrutiny is

16   “not limited to restrictions on advertising and point-of-sale

17   labeling”); see also Ariix, 985 F.3d at 1116 (a publication that

18   is “not in a traditional advertising format but that still refers

19   to a specific product” can be commercial speech).

20
           2Plaintiff’s terms of service expressly state that they are
21   part of a “legally binding contract” between X Corp. and its
     users. See X Terms of Service, https://twitter.com/en/tos (last
22   visited Nov. 20, 2023). And, in cases between users and online
     platforms, the terms of service have been treated as enforceable
23   contracts. See, e.g., Swift v. Zynga Game Network, Inc., 805 F.
     Supp. 2d 904, 913 (N.D. Cal. 2011) (ruling that user’s assent to
24   arbitration clause in platform’s terms of service was binding)
     See King v. Facebook, Inc., 572 F.Supp.3d 776, 790 (2021) (ruling
25   that Facebook user had stated a cognizable claim for breach of
     contract claim based on Facebook’s terms of service); Bass v.
26   Facebook, Inc., 394 F. Supp. 3d 1024, 1038 (N.D. Cal. 2019)
     (ruling that limitation-of-liability provision in terms of
27   service precluded user’s breach of contract claims against
     Facebook).
28
                                          9
                                   Defendant’s Supp. Brief (2:23-CV-01939-WBS-AC)
     Case 2:23-cv-01939-WBS-AC Document 31 Filed 11/20/23 Page 18 of 34


 1         For example, courts have applied Zauderer to laws compelling

 2   companies to post their product or service disclosures on the

 3   internet, even though they did not provide their products or

 4   services primarily over the internet.        See, e.g., Am. Hosp.

 5   Ass’n, 983 F.3d at 540-41 (applying Zauderer to 42 U.S.C.

 6   § 300gg-18(e), which requires hospitals to post on the internet a

 7   list of their standard prices for offered services) 3; United

 8   States v. Philip Morris, 855 F.3d 321, 323, 327-28 (D.C. Cir.

 9   2017) (applying Zauderer to compelled statements regarding
10   smoking and health matters on tobacco company’s website).            In
11   Env’t Def. Ctr., Inc. v. U.S. E.P.A., the Ninth Circuit invoked
12   Zauderer while rejecting a First Amendment challenge to a law
13   that generally required municipalities to “distribute educational
14   materials” and “inform” the public regarding storm water sewer
15   hazards.    344 F.3d 832, 848-50 (9th Cir. 2003).        And, in Chamber
16   of Com. of United States v. United States Sec. & Exch. Comm’n,
17   the court applied Zauderer to a regulation that required
18   companies that repurchased their own shares to submit a report to
19   the Securities and Exchange Commission explaining the rationale
20   for the repurchase.     No. 23-60255, 2023 WL 7147273, at *3 (5th

21         3Section 300gg-18(e) requires hospitals to make the lists
     “public” as required by federal regulation. 42 U.S.C. § 300gg-
22   18. Federal regulation requires hospitals to make the list
     public by posting them on the internet. See Medicare Program;
23   Hospital Inpatient Prospective Payment Systems for Acute Care
     Hospitals and the Long-Term Care Hospital Prospective Payment
24   System and Policy Changes and Fiscal Year 2019 Rates; Quality
     Reporting Requirements for Specific Providers; Medicare and
25   Medicaid Electronic Health Record (EHR) Incentive Programs
     (Promoting Interoperability Programs) Requirements for Eligible
26   Hospitals, Critical Access Hospitals, and Eligible Professionals;
     Medicare Cost Reporting Requirements; and Physician Certification
27   and Recertification of Claims, 83 FR 41144-01, 41686 (Aug. 17,
     2018).
28
                                          10
                                   Defendant’s Supp. Brief (2:23-CV-01939-WBS-AC)
     Case 2:23-cv-01939-WBS-AC Document 31 Filed 11/20/23 Page 19 of 34


 1   Cir. Oct. 31, 2023).4

 2           The terms of service reports therefore fit comfortably in a

 3   long line of cases treating product or service disclosures, made

 4   directly or indirectly to consumers, as commercial speech subject

 5   to Zauderer scrutiny.

 6               4.    The commercial speech in the terms of service
                       reports is not “inextricably intertwined” with
 7                     noncommercial speech

 8        Plaintiff argues that the terms of service reports

 9   requirements are subject to strict scrutiny, because even if the

10   compelled disclosures are commercial speech, they are

11   “inextricably intertwined” with noncommercial speech.             Mtn. at

12   56, n.12.        However, “advertising which ‘links a product to a

13   current public debate’ is not thereby entitled to the

14   constitutional protection afforded noncommercial speech.”

15   Bolger, 463 U.S. at 68 (quoting Central Hudson, 447 U.S. at 563,

16   n.5).

17        Here, the terms of service report requirements compel only

18   commercial disclosures about Plaintiff’s commercial service.               The

19   requirements do not compel any political message.            Plaintiff

20   argues that “the topics on which AB 587 forces X Corp. to take a

21   position are core political speech.”          Mtn. at 64, n.12.      However,

22   Plaintiff fails to identify how any provision of the terms of

23   service report requirements (or any part of AB 587) forces

24   Plaintiff to take a position on any political topic.             Plaintiff

25   is only required to disclose its own definitions of content

26           4
            See also Brief of Respondent Securities and Exchange
     Commission at 1, Chamber of Commerce of the United States of
27   America v. S.E.C., 2023 WL 5274579 (5th Cir. Aug. 9, 2023)
     (summarizing the S.E.C. rule); Purchases of equity securities by
28   the issuer and affiliated purchasers, 17 C.F.R. § 229.703 (2023).
                                     11
                                     Defendant’s Supp. Brief (2:23-CV-01939-WBS-AC)
     Case 2:23-cv-01939-WBS-AC Document 31 Filed 11/20/23 Page 20 of 34


 1   categories that Plaintiff has already voluntarily elected to

 2   publicly define in its terms of service.         Cal. Bus. & Prof. Code

 3   § 22677(a)(2) (requiring a “statement of whether the current

 4   version of the terms of service defines each of the following

 5   categories of content and, if so, the definitions of those

 6   categories” (emphasis added)).       The statute’s provision requiring

 7   “[i]nformation on content that was flagged by the social media

 8   company as content belonging to any of the categories” also does

 9   not force Plaintiff to take a position on any political topic.
10   It merely requires Plaintiff to report statistics about actions
11   it has taken based on its own policies.        Id. § 22677(a)(5).
12        Plaintiff has also argued that the terms of service report
13   requirements compel Plaintiff to “convey information about issues
14   of public concern — namely, how X Corp. moderates controversial
15   content on its social media platform.”        Reply Br., ECF No. 25, at
16   11-12.     Even if this were so, it means that the disclosures only
17   “link[] [Plaintiff’s] product to a current debate” regarding how
18   social media platforms moderate content.         Bolger, 463 U.S. at 68.
19   This mere link does not confer the disclosures with the
20   constitutional protection afforded noncommercial speech.             Id.

21        The terms of service report disclosures are commercial speech

22   only, and are not “inextricably intertwined” with noncommercial

23   speech.5

24

25
           5Plaintiff also asserts that information on “how it
26   applies” definitions of controversial categories “in specific
     cases” carries a political message. Reply, ECF No. 25, at 16.
27   However, AB 587 does not require the disclosure of any
     information related to particular posts. See Cal Bus. & Prof.
28   Code §§ 22676, 22677.
                                     12
                                   Defendant’s Supp. Brief (2:23-CV-01939-WBS-AC)
     Case 2:23-cv-01939-WBS-AC Document 31 Filed 11/20/23 Page 21 of 34


 1        B.   The Terms of Service Report Disclosures Are “Purely
               Factual and Uncontroversial”
 2

 3        AB 587’s terms of service report requirements are also

 4   subject to Zauderer scrutiny because they compel only speech that

 5   is “purely factual and uncontroversial.”         Nat’l Wheat, No. 20-

 6   16753, at *10.

 7        In Plaintiff’s motion, the only terms of service report

 8   requirements that it argues are not purely factual and

 9   uncontroversial are those related to the statute’s specified

10   categories of content

11   (“disinformation,” “hate speech,” etc.).         See Mtn. at 65-67; see

12   Cal. Bus. & Prof. Code §§ 22677(a)(3), (5)(B)(1).          But those

13   provisions require the disclosure of purely factual information;

14   they merely require companies to disclose whether their terms of

15   service “define” specified categories of content (and what those

16   definitions are) (id. § 22677(a)(3)) and “[i]nformation on

17   content that was flagged by the social media company as content

18   belonging to any of” those categories (id. § 22677(a)(5)(A)

19   (emphasis added).6     This is purely factual information about the

20   company’s actual policies and actual conduct, whose accuracy is

21   not subject to reasonable dispute.        If a social media company’s

22
           6Plaintiff suggested at the hearing that compliance with
23   section 22677(a)(5)(A) may require Plaintiff to exercise
     subjective judgments because the statute’s content categories may
24   overlap with the categories that Plaintiff actually utilizes.
     However, section 22677(a)(5)(A) does not require Plaintiff to
25   report statistical information about flagged content that merely
     might fall into one of the statute’s categories. It only
26   requires information about content that Plaintiff actually
     flagged “as” content belonging in the statutory categories. In
27   other words, the disclosure relates to Plaintiff’s factual prior
     conduct of identifying (and flagging) content as belonging to the
28   categories.
                                     13
                                   Defendant’s Supp. Brief (2:23-CV-01939-WBS-AC)
     Case 2:23-cv-01939-WBS-AC Document 31 Filed 11/20/23 Page 22 of 34


 1   terms of service do not define the categories listed in AB 587 in

 2   its terms of service, its report to the Attorney General would

 3   simply disclose that fact.      Likewise, if a social media company

 4   does not moderate—or “flag”—according to those categories, it

 5   will have no numerical data on that subject to include its

 6   report.     See id.

 7        The category-related terms of service report requirements are

 8   also uncontroversial.      For the purposes of determining whether to

 9   apply Zauderer scrutiny, the Ninth Circuit has defined
10   “uncontroversial” to mean that the compelled speech: (1)
11   “relate[s] to the product or service that is provided by an
12   entity subject to the requirement”; and, (2) does not force the
13   speaker to “convey a message fundamentally at odds with its
14   mission.”    CTIA, 928 F.3d at 845; accord Nat’l Wheat, No. 20-
15   16753, at *12.     If these requirements are met, a disclosure is
16   “uncontroversial” even if it “can be tied in some way to a
17   controversial issue,” and even if the disclosure may be used by
18   others to support arguments “in a heated political controversy.”
19   CTIA, 928 F.3d at 845.7
20        The speech compelled by the statute’s category-related

21   provisions meet both prongs of this test.         The speech relates to

22         7In Nat’l Wheat, the Ninth Circuit added that “an objective
     evaluation of ‘controversy’ is also an important consideration.”
23   Nat’l Wheat, No. 20-16753, at *12. However, the brief subsequent
     discussion indicates that the court was referring to whether
24   there is actually controversy about the factual accuracy of the
     speech. Id. Here, the terms of service report requirements only
25   require social media platforms to disclose accurate facts about
     their actual, existing content moderation policies and practices.
26   Even if the Court also meant that courts should evaluate whether
     there is actually a public controversy over the speech’s subject
27   matter, the Court did not suggest that this alone would be
     sufficient to establish that the speech was “controversial” and
28   not subject to Zauderer.
                                     14
                                   Defendant’s Supp. Brief (2:23-CV-01939-WBS-AC)
     Case 2:23-cv-01939-WBS-AC Document 31 Filed 11/20/23 Page 23 of 34


 1   Plaintiff’s own product or services, because it provides

 2   information about how Plaintiff’s own social media platform

 3   works.    The provisions also do not force Plaintiff to “convey a

 4   message fundamentally at odds with its mission.”            Id.   To the

 5   contrary, the provisions simply require the disclosure of

 6   information regarding Plaintiff’s own choices about how its

 7   commercial service should function. It is hard to imagine how

 8   such information might be inconsistent with Plaintiff’s own

 9   mission.    Surely Plaintiff is not arguing that its voluntary
10   business choices are fundamentally at odds with its own mission.
11        The terms of service report requirements are subject to
12   Zauderer scrutiny because they compel only commercial speech that
13   is “purely factual and uncontroversial.” Nat’l Wheat, No. 20-
14   16753, at *10.
15
     II. EVEN IF ZAUDERER SCRUTINY DOES NOT APPLY TO THE TERMS OF SERVICE
16       REPORT REQUIREMENTS, CENTRAL HUDSON INTERMEDIATE SCRUTINY APPLIES
17        Even if AB 587’s terms of service report requirements did not
18   qualify for Zauderer scrutiny, they would still be subject only
19   to the Central Hudson intermediate scrutiny test for commercial
20   speech.    Under circumstances similar to those here, the Ninth

21   Circuit and this Court already have concluded as much.             See Nat’l

22   Wheat, 2023 WL 7314307, at *10 (applying Central Hudson scrutiny

23   after concluding that the challenged disclosure requirements did

24   not compel purely factual and uncontroversial speech under

25   Zauderer); see also Nat’l Ass’n of Wheat Growers v. Becerra, 468

26   F. Supp. 3d 1247, 1258 (E.D. Cal. 2020) (same) (citing National

27   Institute of Family and Life Advocates v. Becerra, 138 S.Ct.

28   2361, 2372 (2018) (“NIFLA”) (internal quotation omitted)); see
                                     15
                                    Defendant’s Supp. Brief (2:23-CV-01939-WBS-AC)
     Case 2:23-cv-01939-WBS-AC Document 31 Filed 11/20/23 Page 24 of 34


 1   also Cent. Hudson Gas & Elec. Corp. v. Pub. Serv. Comm'n of New

 2   York, 447 U.S. 557, 564 (1980).

 3   III. THE TERMS OF SERVICE REPORT REQUIREMENTS ARE NOT SUBJECT STRICT
         SCRUTINY
 4
          A.   Strict Scrutiny Does Not Apply to Content-Based Laws
 5             Compelling Commercial Speech
 6        AB 587’s terms of service report requirements require large

 7   social media platforms to disclose specified types of factual

 8   information.    Even if this renders the requirements “content-

 9   based” to some degree, content-based restrictions are “not
10   necessarily subject to strict scrutiny.”          United States v.
11   Swisher, 811 F.3d 299, 313 (9th Cir. 2016).
12        Generally, some content-based speech regulations implicating
13   the First Amendment are subject to strict scrutiny.            However, as
14   the Supreme Court explained in NIFLA, Zauderer set forth an
15   exception to this rule for content-based regulations that compel
16   commercial speech.     NIFLA, 138 S. Ct. at 2365-66 (citing
17   Zauderer, 471 U.S. at 651).       Thus, content-based regulations that
18   qualify for Zauderer scrutiny are not subject to strict scrutiny.
19   See id.    The Ninth Circuit also has expressly concluded that
20   strict scrutiny does not apply to all content-based compelled

21   disclosures, and that an exception applies when Zauderer or

22   Central Hudson scrutiny is appropriate.          See Nationwide Biweekly

23   Admin., Inc. v. Owen, 873 F.3d 716, 732 (9th Cir. 2017).               Other

24   courts have reached the same conclusion.          See, e.g., Greater

25   Baltimore Ctr. for Pregnancy Concerns, Inc. v. Mayor & City

26   Council of Baltimore, 721 F.3d 264, 283 (4th Cir. 2013) (“While

27   the strict scrutiny standard generally applies to content-based

28   regulations, including compelled speech, less-demanding standards
                                     16
                                    Defendant’s Supp. Brief (2:23-CV-01939-WBS-AC)
     Case 2:23-cv-01939-WBS-AC Document 31 Filed 11/20/23 Page 25 of 34


 1   apply where the speech at issue is commercial” (internal citation

 2   omitted)); S.E.C. v. AT&T, Inc., 626 F. Supp. 3d 703, 743

 3   (S.D.N.Y. 2022) (“But defendants’ suggestion that all content-

 4   based regulations must satisfy strict scrutiny overlooks the

 5   significant body of decisions involving laws and regulations

 6   mandating affirmative disclosures of information”).

 7        Indeed, regulations compelling speech are usually content-

 8   based by definition, because they set forth some category of

 9   information that must be spoken—and Zauderer scrutiny is applied
10   in those cases.     See, e.g., Zauderer, 471 U.S. at 652 (attorney
11   advertisements required to disclose that clients may be
12   responsible for litigation costs); CTIA, 928 F.3d at 837-38 (cell
13   phone retailers required to inform prospective purchasers about
14   cell phone radiation); Am. Beverage Ass’n v. City and County of
15   San Francisco, 916 F.3d 749, 753 (9th Cir. 2019) (health warnings
16   required in advertisements for certain sugar-sweetened
17   beverages).
18        Plaintiff, on the other hand, offers no authorities
19   supporting the argument that compelled commercial disclosure
20   requirements are subject to strict scrutiny merely because they

21   are “content-based.”      Although Plaintiff has cited Reed and City

22   of Austin for the proposition that all content-based regulations

23   are necessarily subject to strict scrutiny, those case involved

24   restricted speech not compelled speech.        Mtn., ECF No. 20, at 56-

25   57; see Reed v. Town of Gilbert, Ariz., 576 U.S. 155, 159 (2015);

26   City of Austin, Texas v. Reagan Nat’l Advert. of Austin, LLC, 596

27   U.S. 61, 64-65 (2022).

28
                                          17
                                   Defendant’s Supp. Brief (2:23-CV-01939-WBS-AC)
     Case 2:23-cv-01939-WBS-AC Document 31 Filed 11/20/23 Page 26 of 34


 1        Here the terms of service report requirements compel

 2   commercial speech that is subject to Zauderer scrutiny (or, at

 3   most, Central Hudson scrutiny), and are therefore not subject to

 4   strict scrutiny merely because they may be content-based to some

 5   degree.

 6
          B.   The Terms of Service Report Requirements Are
 7             Viewpoint Neutral
 8        The terms of service report requirements are also not subject

 9   to strict scrutiny as viewpoint discriminatory, because the
10   requirements are viewpoint neutral.        “A regulation engages in
11   viewpoint discrimination when it regulates speech ‘based on ‘the
12   specific motivating ideology or perspective of the speaker.’ ”
13   First Resort, Inc. v. Herrera, 860 F.3d 1263, 1277 (9th Cir.
14   2017) (quoting Reed, 576 U.S. at 168).
15        The terms of service report requirements are facially
16   viewpoint neutral.     Although the requirements direct companies to
17   provide certain types of information, the requirements do not
18   mandate that the disclosed information include any particular
19   message or substance.      In other words, the requirements do not
20   impose any terms of service or content regulation policies or

21   outcomes on any social media platform.        They merely require

22   companies to disclose the policies and practices that they have

23   actually and voluntarily put into place.

24        AB 587’s terms of service report requirements in AB 587

25   therefore materially differ from the challenged law in Volokh,

26   2023 WL 1991435.     See Mtn. at 53.      There, the law required

27   platforms to implement hate speech policies which put plaintiffs

28   “in the incongruous position of stating that they promote an
                                     18
                                   Defendant’s Supp. Brief (2:23-CV-01939-WBS-AC)
     Case 2:23-cv-01939-WBS-AC Document 31 Filed 11/20/23 Page 27 of 34


 1   explicit pro-free speech ethos, but also require[d] them to enact

 2   a policy allowing users to complain about ‘hateful conduct’ as

 3   defined by the state.”      Id. at *7.    The court concluded that the

 4   compelled speech was therefore partly political in nature and

 5   that strict scrutiny was therefore appropriate.”          Id.   In

 6   contrast here, AB 587’s terms of service report requirements

 7   merely require Plaintiff to disclose factual information about

 8   its own voluntary, existing content moderation policy practices.

 9   The requirements do not require Plaintiff to adopt or communicate
10   anything else, much less promote a particular ethos.
11         Where, as here, a law is facially neutral, a court “will not
12   look beyond its text to investigate a possible viewpoint-
13   discriminatory motive.”      Interpipe Contracting, Inc. v. Becerra,
14   898 F.3d 879, 899 (9th Cir. 2018).        A court may only turn to the
15   legislative history and other extrinsic evidence of legislative
16   intent if the law includes “indicia of discriminatory motive.”
17   Id.   The court here therefore need not, and should not, look
18   beyond AB 587’s text to conclude that it is not viewpoint-
19   discriminatory.
20         Even if the Court were to consider legislative history,

21   however, it would reach the same conclusion.         Courts “assume that

22   the objectives articulated by the legislature are actual purposes

23   of the statute, unless an examination of the circumstances forces

24   [the courts] to conclude that they could not have been a goal of

25   the legislature.”     Am. Fuel & Petrochem. Mfrs. v. O’Keefe, 903

26   F.3d 903, 912 (9th Cir. 2018).       As the Legislature put it, AB 587

27   is, “[i]n essence . . . a transparency measure.”          Boutin Dec.,

28   ECF No. 24-1, Ex. 2 at 4 (Assem. Judiciary Comm. Analysis).            The
                                     19
                                   Defendant’s Supp. Brief (2:23-CV-01939-WBS-AC)
     Case 2:23-cv-01939-WBS-AC Document 31 Filed 11/20/23 Page 28 of 34


 1   Legislature’s express purpose in enacting the bill was “to

 2   increase transparency around what terms of service social media

 3   companies are setting out and how it ensures those terms are

 4   abided by.    The goal is to learn more about the methods of

 5   content moderation and how successful they are.”          Id., Ex. 6 at

 6   12 (Sen. Judiciary Comm. Analysis).         And, the Governor’s press

 7   release following enactment prominently referred to AB 587 in its

 8   title as a “social media transparency bill.”         See Mtn. at 69.

 9        Plaintiff argues that the main purpose of AB 587 is to
10   pressure social media platforms to eliminate certain types of
11   speech on their platforms.        Mtn. at 55-56.   The Legislature was
12   aware that, by requiring greater transparency about platforms’
13   content-moderation rules and decisions, AB 587 may encourage—
14   though not require—social media companies to “become better
15   corporate citizens by doing more to eliminate hate speech and
16   disinformation” on their platforms.        Boutin Dec., Ex. 2 at 4
17   (Assem. Judiciary Comm. Analysis).        But any public pressure from
18   consumers that results from the factual disclosures does not
19   equate to discriminatory treatment by the state through AB 587.
20
          C.   The “Editorial Judgments” Theory Does Not Apply to
21             the Terms of Service Report Requirements
22        Plaintiff argues that the terms of service report

23   requirements are subject to strict scrutiny based on a theory

24   that the report interferes with Plaintiff’s “editorial judgments

25   about content.”     Mtn. at 46.    This argument is unavailing here,

26   just as it was in NetChoice (Fla.) and NetChoice (Tex.), where

27   both the Fifth and Eleventh Circuits held that the challenged

28   disclosure statutes did not violate the First Amendment based on
                                     20
                                   Defendant’s Supp. Brief (2:23-CV-01939-WBS-AC)
     Case 2:23-cv-01939-WBS-AC Document 31 Filed 11/20/23 Page 29 of 34


 1   the “editorial judgments” theory.        NetChoice (Fla.), 34 F.4th at

 2   1233; NetChoice (Tex.), 49 F.4th 487-88.         Indeed, none of

 3   Plaintiffs’ cited cases involve regulations compelling commercial

 4   speech and none even consider whether Zauderer should apply.

 5        Herbert v. Lando is a defamation case that merely says, in

 6   dicta, that “[t]here is no law that subjects the editorial

 7   process to private or official examination merely to satisfy

 8   curiosity or to serve some general end such as the public

 9   interest; and if there were, it would not survive constitutional
10   scrutiny as the First Amendment is presently construed.”             441
11   U.S. 153, 174 (1979).      The Fifth Circuit explained in NetChoice
12   (Tex.) why Herbert is distinguishable from social media
13   transparency laws: “Herbert held that a defamation plaintiff
14   could obtain discovery into the editorial processes that
15   allegedly defamed him.      And in the course of so holding, the
16   Court rejected the editor's request to create ‘a constitutional
17   privilege foreclosing direct inquiry into the editorial
18   process.’”    NetChoice (Tex.), 49 F.4th at 487 (quoting Herbert,
19   441 U.S. at 176) (internal citation omitted).
20        In Miami Herald Pub. Co. v. Tornillo, the Supreme Court ruled

21   that a Florida statute violated the First Amendment by requiring

22   a newspaper that criticized a political candidate to subsequently

23   publish the candidate’s response.        418 U.S. 241, 244 (1974); see

24   Mtn. at 47.    The Court reasoned that, under the First Amendment,

25   the state could not compel a newspaper to publish political

26   speech that it disagreed with.       Id. at 256; see also PruneYard

27   Shopping Ctr. v. Robins, 447 U.S. 74, 88 (1980) (Miami Herald

28   “rests on the principle that the State cannot tell a newspaper
                                     21
                                   Defendant’s Supp. Brief (2:23-CV-01939-WBS-AC)
     Case 2:23-cv-01939-WBS-AC Document 31 Filed 11/20/23 Page 30 of 34


 1   what it must print”).       Here, AB 587’s terms of service report

 2   requirements do not tell Plaintiff what noncommercial content to

 3   publish or not to publish.        The law merely requires Plaintiff to

 4   report factual information about its terms of service and content

 5   moderation practices.

 6          Washington Post v. McManus is also distinguishable.           See 944

 7   F.3d 506 (4th Cir. 2019); see also Paxton, 49 F.4th at 488, n.38.

 8   That case involved burdensome campaign finance regulations of

 9   political speech.       Id. at 510-12.    Specifically, for every
10   political ad posted by an online platform (including news
11   outlets), the law required the platform to also post on its site
12   “the identity of the purchaser, the individuals exercising
13   control over the purchaser, and the total amount paid for the
14   ad.”     Id. at 511.    It also required platforms to collect and
15   retain records regarding the political ad purchasers, which were
16   subject to state inspection.        Id. at 512.     While expressly noting
17   the narrowness of its ruling (id. at 513), the court emphasized
18   that the regulatory scheme was unconstitutional, in large part,
19   because it singled out political speech—“campaign-related
20   speech”—for regulation.        Id. at 513-14.     It also emphasized that

21   the law implicated constitutional protections for anonymous

22   political speech (id. at 515) and that noncompliance would result

23   in an injunction to remove the political ad and, failing that,

24   criminal penalties (id. at 514).

25          The terms of service report requirements do not implicate

26   these concerns.        The requirements do not require social media

27   platforms to respond to political content on the platforms and

28   they do not give the government unlimited power to inspect
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                                     Defendant’s Supp. Brief (2:23-CV-01939-WBS-AC)
     Case 2:23-cv-01939-WBS-AC Document 31 Filed 11/20/23 Page 31 of 34


 1   Plaintiff’s records in connection with particular political

 2   content on its site.      And, unlike the challenged law in

 3   Washington Post, AB 587 does not provide any penalties based on

 4   the content on the platform, much less criminal penalties.

 5        Because their cited cases are inapposite, Plaintiffs have

 6   failed to show the terms of service reports requirements are

 7   subject to strict scrutiny based upon the “editorial judgments”

 8   theory.

 9        D.    The Terms of Service Report Requirements Are Not
                Analogous to the Challenged Laws in Plaintiff’s
10              “Speech About Speech” Cases
11        The terms of service report requirements are also not subject
12   to strict scrutiny as purportedly regulating “speech about
13   speech.”    Mtn. at 54.    Plaintiff’s cited cases do not support the
14   application of that theory here.
15        Smith v. People of the State of California, which predates
16   Zauderer, did not involve compelled commercial speech, but
17   rather, an ordinance imposing strict criminal liability on
18   booksellers for selling books containing obscene material.            361
19   U.S. 147, 148-49 (1959).      The Court concluded that the statute
20   would have the functional effect of banning books that were not

21   obscene, and thus, constitutionally protected.          Id. at 152.

22   Here, the terms of service report requirements do not

23   functionally require Plaintiff to change its terms of service or

24   content moderation practices or restrict any content on its

25   platform.

26        In both Entertainment Software Ass’n v. Blagojevic, 469 F.3d

27   641 (7th Cir. 2006) and Motion Picture Ass’n of Am. v. Specter,

28   315 F.Supp. 824 (E.D. Penn. 1970) the challenged laws were
                                     23
                                   Defendant’s Supp. Brief (2:23-CV-01939-WBS-AC)
     Case 2:23-cv-01939-WBS-AC Document 31 Filed 11/20/23 Page 32 of 34


 1   invalidated not because they were “speech about speech,” but

 2   because the laws compelled the expression of opinions rather than

 3   facts.    In Entertainment Software Ass’n, the court concluded that

 4   “sexually explicit” video game labeling requirements did not

 5   qualify for Zauderer scrutiny because they required retailers to

 6   make disclosures that were subjective and “opinion-based” rather

 7   than purely factual and uncontroversial.         469 F.3d at 652.     In

 8   Motion Picture Ass’n of Am., which predated Zauderer, the court

 9   held that a state law violated the First Amendment where it
10   criminalized a film exhibitor’s misrepresentation that a film is
11   “suitable for family viewing,” because that standard was entirely
12   subjective.    315 F.Supp. 824, 825-26 (E.D. Penn. 1970).
13        Here, the terms of service requirements qualify for Zauderer
14   scrutiny, because the required disclosures are factual and
15   uncontroversial, not subjective or opinion-based.
16
          E.   The Terms of Service Report Requirements Are Not
17             Subject to Strict Scrutiny Based on Plaintiff’s
               Unfounded Speculation That the Attorney General May
18             Not Enforce AB 587 Properly
19        Finally, the terms of service report requirements are not
20   subject to scrutiny merely because Plaintiff speculates, without

21   meaningful evidence, that the Attorney General might attempt to

22   use his generally-applicable investigatory powers to enforce AB

23   587 in a manner that violates Plaintiff’s First Amendment rights.

24        The terms of service report requirements merely require

25   Plaintiff to make factual disclosures.        They do not purport to

26   empower the Attorney General, or any other official, to undertake

27   an unconstitutionally-intrusive investigation.          Plaintiff

28   complains that other provisions of AB 587 will permit the
                                     24
                                   Defendant’s Supp. Brief (2:23-CV-01939-WBS-AC)
     Case 2:23-cv-01939-WBS-AC Document 31 Filed 11/20/23 Page 33 of 34


 1   Attorney General to investigate if Plaintiff’s disclosures appear

 2   to contain material omissions or misrepresentations.           See Cal.

 3   Bus. & Prof. Code § 22678.      The proper procedure to address this

 4   concern, if necessary, is not to facially invalidate or subject

 5   the disclosure requirements themselves to strict scrutiny, but to

 6   bring an as-applied challenge to any investigatory action that

 7   Plaintiff believes violates the First Amendment.          This avenue is

 8   not unduly burdensome to Plaintiff, a company that makes over

 9   $100 million in revenue every year.
10        The fact is that Plaintiff is not currently under
11   investigation or under suspicion for noncompliance with AB 587,
12   since its first terms of service report has not even come due.
13   And, the November 3, 2022 letter from the Attorney General to
14   numerous large social media companies does not support
15   Plaintiff’s speculation that the Attorney General plans to use AB
16   587 as a vehicle to conduct an unconstitutional investigation.
17   See Exh. 1 to Fernandez Dec., ECF No. 18-3, at 1-2.           The Attorney
18   General sent the letter just prior to the 2022 midterm elections
19   to encourage social media companies to “stop the spread of
20   disinformation and misinformation that attack the integrity of

21   our electoral processes.”      Id. at 2.    The eight-page letter

22   briefly mentions AB 587 once in a footnote.         Id. at 4.    The

23   letter then understandably states that the Attorney General will

24   enforce all of these laws.      Id.    Nowhere does the letter state

25   that AB 587 would be enforced beyond the scope of its facial

26   disclosure requirements.

27

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                                           25
                                   Defendant’s Supp. Brief (2:23-CV-01939-WBS-AC)
     Case 2:23-cv-01939-WBS-AC Document 31 Filed 11/20/23 Page 34 of 34


 1                                   CONCLUSION

 2         AB 587’s terms of service report requirements are subject to

 3   Zauderer scrutiny.     As explained in earlier briefing and

 4   arguments, all of AB 587’s challenged provisions satisfy Zauderer

 5   scrutiny, and Central Hudson scrutiny if the Court were to apply

 6   it.   Plaintiff’s motion for preliminary injunction should

 7   therefore be denied.

 8
     Dated:   November 20, 2023                Respectfully submitted,
 9
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12

13

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16                                             Rob Bonta, in his official
                                               capacity
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                                   Defendant’s Supp. Brief (2:23-CV-01939-WBS-AC)
